                                                        May 18, 2021

                                                      s/ JeremyHeacox




                                          21-M-399 (SCD)




                                        6-1-21




      5-18-21. 1:25 pm




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                                                         s/ JeremyHeacox




                                             21-M-399 (SCD)




5-18-21




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                          AFFIDAVIT IN SUPPORT OF
                   AN APPLICATION FOR A SEARCH WARRANT

      I, Kathrine L. Karlsen, being first duly sworn, hereby depose and state as

follows:

                   INTRODUCTION AND AGENT BACKGROUND

      1.       I make this affidavit in support of an application for a search warrant

for information associated with a certain cellular device assigned with Vehicle

Identification Number (VIN) 1C4SDJH98MC643044 (“the SUBJECT ACCOUNT”),

with an unknown listed subscriber, that is in the custody or control of AT&T

Corporation (AT&T), a wireless communications service provider that is

headquartered at North Palm Beach, Florida. As a provider of wireless

communications service, AT&T is a provider of an electronic communications

service, as defined in 18 U.S.C. § 2510(15).

      2.       The information to be searched is described in the following

paragraphs and in Attachment A. This affidavit is made in support of an

application for a search warrant under 18 U.S.C. § 2703(c)(1)(A) and Federal Rule of

Criminal Procedure 41 to require AT&T to disclose to the government the

information further described in Section I of Attachment B. Upon receipt of the

information described in Section I of Attachment B, government-authorized persons

will review the information to locate items described in Section II of Attachment B.

      3.       Because this warrant seeks the prospective collection of information,

including cell-site location information, that may fall within the statutory

definitions of information collected by a “pen register” and/or “trap and trace




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device,” see 18 U.S.C. § 3127(3) & (4), the requested warrant is designed to also

comply with the Pen Register Act. See 18 U.S.C. §§ 3121-3127. The requested

warrant therefore includes all the information required to be included in an order

pursuant to that statute. See 18 U.S.C. § 3123(b)(1).

      4.     I am a Special Agent with the Federal Bureau of Investigation (FBI)

and have been since May of 2019.ௗ I have been assigned to the Milwaukee Area Safe

Street Task Force since October of 2019.ௗ Prior to being employed as a Special Agent

with the FBI, I was employed as a Staff Operations Specialist for the FBI for

approximately nine years.ௗ I am an investigator or law enforcement officer of the

United States within the meaning of 18 U.S.C. Section 2510(7), in that I am

empowered by the law to conduct investigations of and to make arrests for federal

felony arrests.

      5.     As a Special Agent, I have participated in the investigation of

narcotics-related offenses, resulting in the seizure of illegal drugs, weapons, United

States currency, and other evidence of criminal activity. As a narcotics investigator,

I have interviewed many individuals involved in drug trafficking and have obtained

information from them regarding acquisition, sale, importation, manufacture, and

distribution of controlled substances. Through my training and experience, I am

familiar with the actions, habits, traits, methods, and terminology used by the

narcotics traffickers and abusers of controlled substances. I have participated in all

aspects of drug investigations, including physical surveillance, execution of search

warrants, undercover operations, court-ordered wiretaps, analysis of phone and

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financial records, and the arrests of numerous drug traffickers. I have also been the

affiant of search warrants. Additionally, I have spoken with other experienced

narcotics investigators on numerous occasions concerning the method and practices

of drug traffickers and money launderers. Through these investigations, my

training and experience, and conversations with other law enforcement personnel, I

have become familiar with the methods used by drug traffickers to manufacture,

smuggle, safeguard, and distribute narcotics, and to collect and launder trafficking-

derived proceeds. I am further aware of the methods employed by major narcotics

organizations to thwart any investigation of their illegal activities.

      6.     In addition to my experience in the investigation of individuals

involved in federal criminal offenses, I also have knowledge and experience in the

apprehension and prosecution of individuals involved in federal criminal offenses. I

am familiar with and have experience in the use of cellular devices used to commit

those offenses as well as the available technology that can be used by law

enforcement to assist in identifying the users of cellular devices and their locations.

      7.     The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is probable cause for the

requested warrant and does not set forth all of my knowledge about this matter.

      8.     Shaft A. DARBY (DARBY) (DOB: xx/xx/1991) is the subject of an

arrest warrant issued on March 3, 2021. Based on the facts set forth in this



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affidavit, there is probable cause to believe that the location information described

in Attachment B will assist law enforcement in arresting DARBY.

      9.     The Court has jurisdiction to issue the proposed warrant because it is a

“court of competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the

Court is a district court of the United States that has jurisdiction over the offense

being investigated. See 18 U.S.C. § 2711(3)(A)(i).

                                     PROBABLE CAUSE

      10.    On or about March 2, 2021, DARBY was charged by Indictment with

possession with intent to distribute more than five grams of a controlled substance

within 1000 feet of a public school, in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(C), and 860(a); possession of a firearm in furtherance of a drug trafficking

crime, in violation of 18 U.S.C. §§ 924(c) & 2(a); and possession of a firearm by a

felon, in violation of 18 U.S.C. §§ 922(g)(1) & 924(a)(2). The Indictment is currently

sealed. See United States v. Shaft A. Darby and Marquan L. Clemmer, 21-CR-48.

                                  Criminal Offense Details

      11.    On October 12, 2020, at approximately 2:15 p.m., law enforcement

officers were conducting surveillance at Al’s Wheels and Deals, a business located at

4270 N. 76th Street in Milwaukee, Wisconsin. Law enforcement was acting in an

undercover capacity and operating in an undercover government vehicle.

      12.     At approximately 2:42 p.m., law enforcement observed a gray in color

2014 Jeep Grand Cherokee SUV bearing Wisconsin registration plate of 470-ZEC

(VIN# 1C4RJFDJ9EC395246), hereinafter referred to as the “gray Jeep,” enter the

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parking lot of Al’s Wheels and Deals. Law enforcement then observed the gray Jeep

parked next to a black in color 2018 Jeep Grand Cherokee SUV bearing Wisconsin

registration plate of ABE-3330 (VIN# 1C4SDJH98MC643044), hereinafter referred

to as the “black Jeep.”

      13.    On October 12, 2020, at approximately 3:54 p.m., law enforcement

observed DARBY, wearing a tan Burberry hat, black hooded sweatshirt and black

jeans, exit the gray Jeep. Law enforcement then observed DARBY enter the black

Jeep. DARBY was then observed reversing the black Jeep towards the overhead

door to the building of 4270 N. 76th Street. Law enforcement then observed DARBY

exit the driver door and open the tailgate of the black Jeep. At this time, law

enforcement was not able to observe DARBY’s actions due to the position of other

vehicles obstructing their view. Law enforcement conducting surveillance advised

other officers regarding the above-described observations.

      14.    DARBY was then observed getting back into the driver seat of the

black Jeep and parking the vehicle next to the gray Jeep. Affiant then observed a

subject, later identified as Marquan L. CLEMMER (DOB: xx/xx/1995), retrieve a

purple “Bape” hooded sweatshirt from the rear passenger compartment of the gray

Jeep. Affiant then observed CLEMMER open the rear left passenger door of the

black Jeep. During this time affiant was not able to observe CLEMMER’s actions

while he was near the rear passenger door of the black Jeep.

      15.    Additional law enforcement officers then entered into the parking lot of

Al’s Wheels and Deals. At this time, the driver door of the gray Jeep was open. As

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law enforcement exited the squad car and began walking towards the Jeep,

CLEMMER exited the front passenger door of the gray Jeep and began running

westbound towards N. 76th Street. DARBY exited the driver seat of the gray Jeep

and fled westbound around the rear of the gray Jeep and then back northbound

near the front entrance from where the officers entered.

      16.     During flight, CLEMMER ran up onto a vehicle and jumped off the

vehicle over a chain link fence surrounding the parking lot of Al’s Wheels and Deals.

Law enforcement followed CLEMMER and apprehended him on the median across

the street of N. 76th Street. Upon CLEMMER’s arrest, law enforcement located in

his front right pants pocket four cell phones. Law enforcement also located a loaded

black Glock 48 9 mm semi-automatic handgun from the bottom of CLEMMER’s left

side pants leg. CLEMMER also had a Jeep key fob around his neck and was also in

possession of $80.00 in U.S. currency.

      17.    During flight, law enforcement gave DARBY multiple verbal

commands to “stop.” DARBY disregarded the verbal commands and continued to

flee on foot. Law enforcement followed DARBY and observed DARBY throw a pill

bottle on the roof of 4302 N. 76th Street. Law enforcement then apprehended

DARBY.

      18.    While standing in the parking lot of Al’s Wheels and Deals, law

enforcement observed the pill bottle that DARBY threw on the top of the roof of

4302 N. 76th Street. Due to strong winds, the pill bottle blew off of the roof, and law

enforcement located and secured the pill bottle, which was revealed to contain

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approximately 57 Oxycodone Hydrochloride 30 mg pills, a Schedule II controlled

substance. The pill bottle did not contain a prescription label. Upon arrest, DARBY

was found to be in possession of four cell phones, $2,920.10 in U.S. currency, and

approximately 2 grams of marijuana.

      19.     A search of both Jeeps was thereafter conducted. A search of the gray

Jeep revealed the following, which list is non-exhaustive:

                 a. Open box 150 count sandwich bags in center console;

                 b. A large dry freezer bag containing clear plastic bags that
                    contained approximately 497.51 grams of marijuana on the front
                    passenger floorboard;

                 c. Drum magazine for firearm under front passenger seat;

                 d. Tan FN BG 9mm semi-automatic (Serial # CSU0057167)
                    handgun on the rear passenger floorboard in the middle of the
                    compartment;

                 e. WI auto plates, ABR5696, AAF4004, and AHT2100, in the
                    trunk; and

                 f. $120.00 in U.S. currency in the passenger door handle.

      20.     A search of the black Jeep revealed the following, which list is non-

exhaustive:

                 a. Bottle of suspected promethazine with no label, weighing 70.91
                    grams with the bottle, in driver door map pocket;

                 b. A cellular phone in glove box;

                 c. Large clear plastic “pound bag” containing marijuana residue on
                    passenger rear floorboard;

                 d. Black backpack on passenger side rear seat containing a total of
                    $67,410.00 in U.S. currency, clear plastic bags that contained

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                     approximately 134.92 grams of marijuana, a digital scale, and
                     identifiers of “Terrance M. CLEMMER”;

                e. Gray duffle bag containing a large clear plastic dry freezer bag
                   containing approximately 449.33 grams of marijuana; and

                f. WI registration plate AJT-1610 in trunk.

      21.    Video surveillance of Al’s Wheels and Deals captured DARBY and

CLEMMER on the day of their arrest. Surveillance depicts DARBY exiting the gray

Jeep, operating the black Jeep, and meeting with another individual, who switches

out the license plates of the black Jeep. DARBY is then observed driving the black

Jeep to a location near the gray Jeep, which he then enters. DARBY and

CLEMMER are both observed exiting the gray Jeep. Eventually, CLEMMER is

depicted retrieving a black backpack from the gray Jeep and placing it in the rear

compartment of the black Jeep. This black backpack matches the description of the

black backpack that contained a large sum of U.S. currency and marijuana located

in the black Jeep.

      22.    On November 5, 2020, at approximately 12:30 p.m., DARBY and

Terrya Bolden, the mother to DARBY’s children, paid $550.00 to have the black

Jeep released to them from the City of Milwaukee Tow Lot, located at 3811 W.

Lincoln Avenue, Milwaukee, Wisconsin.

      The matte-gray Dodge Durango Hellcat and the SUBJECT ACCOUNT

      23.    On April 28, 2021, United States Magistrate Judge William E. Duffin

authorized a pen register/trap and trace and cell site/ping warrant for the cellular

device associated with VIN 1C4RJFN97JC310127, the black Jeep.

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      24.    On April 30, 2021, case agents received historical location data for the

black Jeep. The data showed that the Jeep was in the area of 45th Street and US-41

in Highland, Indiana, from April 5, 2021, to April 28, 2021. Case agents researched

the area and found several car dealerships in the proximity of the historical location

data. Additionally, case agents found the black Jeep to be listed for sale out of

Highland, Indiana, at truecar.com. The advertisement listed the black Jeep to be

sold from Thomas Dodge Chrysler Jeep Ram of Highland, Indiana, a car dealership

within close proximity of the location data of the black Jeep.

      25.    On May 4, 2021, case agents spoke to the business manager at Thomas

Dodge Chrysler Jeep of Highland Inc. located at 9604 Indianapolis Boulevard,

Highland, Indiana, who informed case agents that DARBY and Terrya Bolden

traded in the 2018 Jeep Grand Cherokee Trackhawk for a matte-gray 2021 Dodge

Durango Hellcat with VIN 1C4SDJH98MC643044 on March 30, 2021.

      26.    On March 31, 2021, at approximately 10:34 a.m., case agents observed

DARBY exit the rear of the residence located at 8324 W. Center Street, Milwaukee.

DARBY used the keypad to open one of the two garage doors behind the target

residence. Case agents observed DARBY drive a matte-gray Dodge Durango Hellcat

from the garage, out the alley and turn north on 84th Street.

      27.    The Dodge Durango Hellcat is currently registered to DARBY and

Terrya L. BOLDEN at address 8324 W. Center Street in Milwaukee, Wisconsin.

      28.    Based upon information regarding DARBY’s vehicle trade-in, the

registration information for the Dodge Durango Hellcat, and case agents’

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observations of DARBY operating the Dodge Durango Hellcat, case agents believe

DARBY is currently operating the gray Dodge Durango Hellcat.

      29.     Furthermore, DARBY has been traffic stopped and has fled from law

enforcement in various instances in 2019 and 2020. Specifically, DARBY fled from

law enforcement on or about April 23, 2019, in the area of 6800 W. Hampton

Avenue, and on or about March 18, 2020, in the area of 8400 W. Hampton Avenue.

Additionally, DARBY was traffic stopped on or about August 15, 2019, in the area of

N. 72nd Street and W. Ruby Avenue, and on or about October 3, 2019, in the area of

N. 75th Street and W. Courtland Avenue. 1

      30.     Case agents also believe that DARBY knows and/or believes that law

enforcement is searching for him because of his criminal activities.

      31.     Based upon DARBY’s pattern of fleeing from law enforcement,

including on the day of his arrest in October 2020, case agents believe that it is

likely for DARBY to act in accordance when he encounters law enforcement.

Therefore, agents believe that the requested warrant will allow them to not only

determine DARBY’s location to arrest him, but to also reduce the risk of danger

posed to the apprehending officers.

      32.     Furthermore, your affiant knows through communications with other

law enforcement members that newer vehicles, such as a 2021 Dodge Durango, are



      1  DARBY has an active Felony Milwaukee Police Department suspect alert for
fleeing/Eluding (Citation # BF906634-1).


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frequently equipped with cellular modems inside their vehicles. These cellular

modems are assigned a unique cellular identifier and generate historical and

prospective records similar to a traditional cellular phone. The unique cellular

identifier is associated with a specific VIN. These records can assist law

enforcement in identifying the location of the vehicle including patterns of travel

and areas where the subject may reside or frequent.

       33.    Most Original Equipment Manufacturers (OEMs) have partnered with

AT&T or Verizon to provide cellular connectivity within their vehicles.

       34.    A check of open source information from AT&T identifies the 2021

Dodge Durango Hellcat as a vehicle that has a built in WiFi hotspot that is serviced

by AT&T, identified as the SUBJECT ACCOUNT.

       35.    In my training and experience, I have learned that AT&T is a company

that provides cellular communications service to the general public. I also know

that providers of cellular telephone service have technical capabilities that allow

them to collect and generate at least two kinds of information about the locations of

the cellular telephones to which they provide service: (1) cell-site data, also known as

“tower/face information” or cell tower/sector records, and (2) E-911 Phase II data, also

known as GPS data or latitude-longitude data.

       36.    Cell-site data identifies the “cell towers” (i.e., antenna towers covering

specific geographic areas) that received a radio signal from the cellular device and,

in some cases, the “sector” (i.e., faces of the towers) to which the device connected.

These towers are often a half-mile or more apart, even in urban areas, and can be
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10 or more miles apart in rural areas. Furthermore, the tower closest to a wireless

device does not necessarily serve every call made to or from that device.

Accordingly, cell-site data provides an approximate general location of the cellular

device.

      37.     Based on my training and experience, I know that for each

communication a cellular device makes, its wireless service provider can typically

determine: (1) the date and time of the communication; (2) the telephone numbers

involved, if any; (3) the cell tower to which the customer connected at the beginning

of the communication; (4) the cell tower to which the customer was connected at the

end of the communication; and (5) the duration of the communication. I also know

that wireless providers such as the Service Provider typically collect and retain cell-

site data pertaining to cellular devices to which they provide service in their normal

course of business in order to use this information for various business-related

purposes.

      38.     E-911 Phase II data provides relatively precise location information

about the cellular telephone itself, either via GPS tracking technology built into the

phone or by triangulating on the device’s signal using data from several of the

provider’s cell towers. E-911 Phase II data is typically more precise than cell-site

data. Based on my training and experience, I know that the Service Provider can

collect E-911 Phase II data about the location of the SUBJECT ACCOUNT,

including by initiating a signal to determine the location of the SUBJECT



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ACCOUNT on the Service Provider’s network or with such other reference points as

may be reasonably available.

      39.    Providers may also be able to provide information regarding the

estimated distance that the phone was located from the tower at the time the

communication occurred. This information is referred to by various names,

including round-trip time (RTT – Verizon), per-call measurement-data (PCMD –

Sprint), True Call, Advance Timing, NELOS, or equivalent.

      40.    Based on my training and experience, I know each cellular device has

one or more unique identifiers embedded inside it. Depending on the cellular

network and the device, the embedded unique identifiers for a cellular device could

take several different forms, including an Electronic Serial Number (“ESN”), a

Mobile Electronic Identity Number (“MEIN”), a Mobile Identification Number

(“MIN”), a Subscriber Identity Module (“SIM”), a Mobile Subscriber Integrated

Services Digital Network Number (“MSISDN”), an International Mobile Subscriber

Identifier (“IMSI”), or an International Mobile Equipment Identity (“IMEI”). The

unique identifiers – as transmitted from a cellular device to a cellular antenna or

tower – can be recorded by pen-trap devices and indicate the identity of the cellular

device making the communication without revealing the communication’s content.

      41.    Based on my training and experience, I know that wireless providers

such as AT&T typically collect and retain information about their subscribers in

their normal course of business. This information can include basic personal

information about the subscriber, such as name and address, and the method(s) of

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payment (such as credit card account number) provided by the subscriber to pay for

wireless communication service. I also know that wireless providers such as AT&T

typically collect and retain information about their subscribers’ use of the wireless

service, such as records about calls or other communications sent or received by a

particular device and other transactional records, in their normal course of

business. In my training and experience, this information may constitute evidence

of the crimes under investigation because the information can be used to identify

the SUBJECT ACCOUNT’s user or users and may assist in the identification of co-

conspirators and/or victims.

                            AUTHORIZATION REQUEST

      42.    Based on the foregoing, I request that the Court issue the proposed

warrant, pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure

41.

      43.    I further request that the Court direct the Service Provider to disclose

to the government any information described in Section I of Attachment B that is

within its possession, custody, or control.

      44.    I also request that the Court direct the Service Provider to furnish the

government all information, facilities, and technical assistance necessary to

accomplish the collection of the information described in Attachment B

unobtrusively and with a minimum of interference with the Service Provider’s

services, including by initiating a signal to determine the location of the SUBJECT

ACCOUNT on the Service Provider’s network or with such other reference points as

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may be reasonably available, and at such intervals and times directed by the

government. The government shall reasonably compensate the Service Provider for

reasonable expenses incurred in furnishing such facilities or assistance.

      45.    I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of

Criminal Procedure 41(f)(3), that the Court authorize the officer executing the

warrant to delay notice until 30 days after the collection authorized by the warrant

has been completed. There is reasonable cause to believe that providing immediate

notification of the warrant may have an adverse result, as defined in 18 U.S.C.

§ 2705. Providing immediate notice to the subscriber or user of the SUBJECT

ACCOUNT would give that person an opportunity to destroy evidence, change

patterns of behavior, and flee from prosecution. See 18 U.S.C. § 3103a(b)(1). As

further specified in Attachment B, which is incorporated into the warrant, the

proposed search warrant does not authorize the seizure of any tangible property.

See 18 U.S.C. § 3103a(b)(2). Moreover, to the extent that the warrant authorizes the

seizure of any wire or electronic communication (as defined in 18 U.S.C. § 2510) or

any stored wire or electronic information, there is reasonable necessity for the

seizure for the reasons set forth above. See 18 U.S.C. § 3103a(b)(2).

      46.    Because the warrant will be served on the Service Provider, who will

then compile the requested records at a time convenient to it, reasonable cause

exists to permit the execution of the requested warrant at any time in the day or

night. I further request that the Court authorize execution of the warrant at any



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time of day or night, owing to the potential need to locate the SUBJECT ACCOUNT

outside of daytime hours.




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                             ATTACHMENT A

                          Property to Be Searched

      1. Records and information associated with the cellular device assigned

Vehicle Identification Number (VIN) 1C4SDJH98MC643044 (“the SUBJECT

ACCOUNT”), with an unknown listed subscriber, that is in the custody or

control of AT&T Corporation (AT&T or Provider), a wireless communications

service provider that is headquartered at North Palm Beach, Florida.

      2. The SUBJECT ACCOUNT.




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                               ATTACHMENT B

                         Particular Things to be Seized

I.      Information to be Disclosed by the Provider

     To the extent that the information described in Attachment A is within the

possession, custody, or control of the Provider, including any information that

has been deleted but is still available to the Provider or that has been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), the Provider is required

to disclose to the government the following information pertaining to the

Account listed in Attachment A:


        a. The following subscriber and historical information about the
           customers or subscribers associated with the SUBJECT ACCOUNT for
           the time period April 10, 2021, to Present:

              i. Names (including subscriber names, user names, and screen
                 names);

              ii. Addresses (including mailing addresses, residential addresses,
                  business addresses, and e-mail addresses);

             iii. Local and long distance telephone connection records;

             iv. Records of session times and durations, and the temporarily
                 assigned network addresses (such as Internet Protocol (“IP”)
                 addresses) associated with those sessions;

              v. Length of service (including start date) and types of service
                 utilized;

             vi. Telephone or instrument numbers (including MAC addresses,
                 Electronic Serial Numbers (“ESN”), Mobile Electronic Identity
                 Numbers (“MEIN”), Mobile Equipment Identifier (“MEID”);
                 Mobile Identification Number (“MIN”), Subscriber Identity
                 Modules (“SIM”), Mobile Subscriber Integrated Services Digital
                 Network Number (“MSISDN”); International Mobile Subscriber



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           Identity Identifiers (“IMSI”), or International Mobile Equipment
           Identities (“IMEI”);

      vii. Other subscriber numbers or identities (including the
           registration Internet Protocol (“IP”) address); and

     viii. All records and other information (not including the contents of
           communications) relating to wire and electronic communications
           sent or received by the SUBJECT ACCOUNT, including:

           (A) the date and time of the communication, the method of the
           communication, and the source and destination of the
           communication (such as the source and destination telephone
           numbers (call detail records), email addresses, and IP
           addresses); and

            (B) information regarding the cell tower and antenna face (also
           known as “sectors” through which the communications were
           sent and received, as well as per-call measurement or timing
           advance data (PCMD, RTT, True Call, Advance Timing, NELOs,
           or equivalent).

 b. Information associated with each communication to and from the
    SUBJECT ACCOUNT for a period of 30 days from the date of this
    warrant, including:

        i. Any unique identifiers associated with the cellular device,
           including ESN, MEIN, MSISDN, IMSI, SIM, or MIN;

       ii. Source and destination telephone numbers;

      iii. Date, time, and duration of communication; and

           All data about the cell towers (i.e. antenna towers covering
           specific geographic areas) and sectors (i.e. faces of the towers) to
           which the SUBJECT ACCOUNT will connect at the beginning
           and end of each communication, as well as per-call
           measurement or timing advance data (PCMD, RTT, True Call,
           Advance Timing, NELOs, or equivalent).

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 c. Information about the location of the SUBJECT ACCOUNT for a
    period of 30 days during all times of day and night. “Information about
    the location of the SUBJECT ACCOUNT” includes all available E-911
    Phase II data, GPS data, latitude-longitude data, and other precise
    location information.

        i. To the extent that the information described in the previous
           paragraph (hereinafter, “Location Information”) is within the
           possession, custody, or control of the Provider, the Provider is
           required to disclose the Location Information to the government.
           In addition, the Provider must furnish the government all
           information, facilities, and technical assistance necessary to
           accomplish the collection of the Location Information
           unobtrusively and with a minimum of interference with the
           Provider’s services, including by initiating a signal to determine
           the location of the SUBJECT ACCOUNT on the Provider’s
           network or with such other reference points as may be
           reasonably available, and at such intervals and times directed
           by the government. The government shall compensate the
           Provider for reasonable expenses incurred in furnishing such
           facilities or assistance.

       ii. This warrant does not authorize the seizure of any tangible
           property. In approving this warrant, the Court finds reasonable
           necessity for the seizure of the Location Information. See 18
           U.S.C. § 3103a(b)(2).




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   II.      Information to be Seized by the Government

         All information described above in Section I that will assist in arresting Shaft

A. DARBY, who was charged with possession with intent to distribute more than

five grams of a controlled substance within 1000 feet of a public school, in violation

of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 860(a); possession of a firearm in

furtherance of a drug trafficking crime, in violation of 18 U.S.C. §§ 924(c) & 2(a);

and possession of a firearm by a felon, in violation of 18 U.S.C. §§ 922(g)(1) &

924(a)(2), on or about October 12, 2020. DARBY is the subject of an arrest warrant

issued on March 3, 2021, and is a “person to be arrested” within the meaning of

Federal Rule of Criminal Procedure 41(c)(4).

         Law enforcement personnel (who may include, in addition to law enforcement

officers and agents, attorneys for the government, attorney support staff, agency

personnel assisting the government in this investigation, and outside technical

experts under government control) are authorized to review the records produced by

the Provider in order to locate the things particularly described in this Warrant.




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